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                  Exhibit A
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January 30, 2025

Kristi Noem
Secretary
Department of Homeland Security
2707 Martin Luther King Jr Ave. SE
Washington, DC 20528

John Griffiths, Diane Kelleher, and Alex Haas
Civil Division, U.S. Department of Justice
Federal Programs Branch
950 Pennsylvania Ave. NW
Washington, DC 20530

Dear Secretary Noem, Mr. Griffiths, Ms. Kelleher, and Mr. Haas:

    My organization represents over 200 Quaker houses of worship spanning 12
states (and the District of Columbia) in Philadelphia Yearly Meeting of the Religious
Society of Friends v. DHS, No. 8:25-cv-243 (Jan. 27, 2025 D. Md.). On behalf of our
clients—and people of faith across the country—we write to ask that you voluntarily
pause DHS’s new policy allowing immigration-enforcement activities at houses of
worship. Because of reports of increasing immigration enforcement, including
attempts to enter houses of worship during services and at least one arrest at a house
of worship, we believe an immediate pause in the government’s new policy to restore
the status quo is necessary.1 A pause will allow people to continue to exercise their
religious beliefs and will allow the parties to agree to a briefing schedule in our matter
so the court can consider the issue on a nonemergency basis.

    For many people, including our clients, the weekend is when they gather with
their religious communities for worship. They assemble to speak to and hear from
God, sing hymns, break bread, receive essential services, and build community. The
threat of roving enforcement by armed government agents (and reports of ICE agents
already arresting people at houses of worship) is deterring people from exercising
their faith. Pausing implementation of your new policy and restoring what was the
status quo for more than three decades before the coming weekend will protect the
core religious freedoms of people across the country while the court determines




1 See, e.g., Nick Miroff & Maria Sacchetti, Trump officials issue quotas to ICE officers to ramp up

arrests, Washington Post (Jan. 26, 2025), https://tinyurl.com/2zdehrtm; Allison Walker, ICE Says
‘Sorry’ After Detaining US Citizens for Speaking Spanish: Report, Latin Times (Jan. 29, 2025),
https://tinyurl.com/4h4bjmpm; Billal Rahman, ICE Strikes During Church Service to Arrest Migrant,
Newsweek (Jan. 30, 2025), https://tinyurl.com/yzkkzu4d.

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whether, in accordance with decades of DHS policy, protecting religious exercise
requires more than absolute trust in the “common sense” of an individual agent.

    For more than 30 years, DHS and its predecessor, INS, have recognized that
worship is an “essential activity” and, as a result, that agents need a very good reason
to conduct enforcement operations at houses of worship. DHS’s new policy, on the
other hand, ignores the critical role that religion plays in people’s lives. Instead, it
treats houses of worship as little more than hiding places—nooks from which to root
out criminals. The new policy leaves government interference in core rights to the
subjective “common sense” of enforcement agents.

    Our laws demand more.

    As detailed in our complaint, the right to associate for religious exercise,
including communal religious worship, is well established. DHS’s new policy violates
that right by deterring worshippers from attending services or otherwise joining their
religious communities. That harms not only those who are too fearful to attend
services, but also their fellow congregants and houses of worship themselves. This is
especially true for Quakers, who deeply believe that every person, no matter their
background, can receive and deliver messages from God. Put simply, deterring
attendance at Quaker worship impedes our clients’ ability to experience the divine.

    While the government may be permitted to impede religious gathering in limited
circumstances, the Constitution prohibits it from doing so absent (1) a substantial
relationship between the government’s activities and a sufficient government
interest, and (2) demonstrating that its actions are narrowly tailored to that interest.
That is not possible here, as the government has acknowledged for decades that it is
perfectly capable of enforcing immigration laws without trampling the religious
rights of worshippers.

    DHS’s policy is also outlawed by the Religious Freedom Restoration Act. As
explained above, the policy actively deters immigrants from attending services and,
as such, reduces our clients’ ability to deliver and receive messages from God. It also
exposes congregants to the possibility of armed intrusion into their place of worship,
which makes it impossible for our clients to practice the expectant waiting that is a
cornerstone of their religious practices. If that isn’t a substantial burden on religious
exercise, what is?

    For those and other reasons, we are confident that DHS’s new policy is unlawful.
The Constitution and our federal laws give every person in this country the right to
exercise their faith, and we believe that right should be protected until the court has
an opportunity to review this matter on a nonemergency basis. We reiterate our
request that DHS pause its new policy, disallow immigration-enforcement activities
at or near houses of worship, and work with us to identify an appropriate briefing

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schedule. If you decline to return to what has been DHS’s practice for decades, we
will be given no choice but to protect the constitutional and statutory rights of our
clients in any way necessary, including through seeking emergency injunctive relief.

We request that you respond to this letter by 4:00 p.m. today. If you have any
questions or wish to discuss a proposed briefing schedule, please contact me by
email or phone.


                                             Sincerely,


                                             ________________________
                                             Bradley Girard
                                             Senior Counsel
                                             Democracy Forward Foundation
                                             bgirard@democracyforward.org
                                             (201) 824-1304




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